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IN THE U.S. DISTRICT COURT
DISTRICT OF KANSAS

CLARENCE VANFLEET,
Plaintiff,

V.

MEDIA COLLECTI()NS, INC. D/B/A
JOSEPH, MANN & CREED,

Defendants.

Case No. 12-CV-2111 JTM/DJW

 

NOTICE OF DISMISSAL WITH PREJUDICE

Plaintiff Clarence VanFleet, by and through undersigned counsel, hereby dismisses all

claims With prejudiee, each party to bear its own costs.

Respectfully submitted,

Case & Roberts P.C.

/s/ Randi L. Helms

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Certii”lcate of Service

l hereby certify that on l\/Iarch l9, 2012 a true and correct copy of the above and
foregoing Was served via electronic mail and by depositing the original in the U.S. Mail, first
class postage prepaid, addressed to:

Michelle A. FoX

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Attorney for Defendant

/s/ Randi L. Helms
Randi L. Helms

